Case 1:25-cv-05201-JAV   Document 51-6   Filed 07/17/25   Page 1 of 19




                           EXHIBIT F
        Case 1:25-cv-05201-JAV   Document 51-6   Filed 07/17/25   Page 2 of 19




FAIR HOUSING
SOLUTIONS:
OVERCOMING REAL
ESTATE SALES
DISCRIMINATION




DECEMBER 2019


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                                         1
Case 1:25-cv-05201-JAV    Document 51-6     Filed 07/17/25     Page 3 of 19




 Table of                INTRODUCTION                                                      3


Contents                 HISTORY OF REAL ESTATE SALES DISCRIMINATION                       4

                         NATIONAL DATA                                                     6

                         THE COST OF DISCRIMINATION                                        7

                         SOLUTIONS                                                         9




                         ABOUT THE NATIONAL FAIR HOUSING ALLIANCE

                         Founded in 1988 and headquartered in Washington, DC, the
                         National Fair Housing Alliance is the only national
                         organization dedicated solely to ending all forms of housing
                         discrimination. NFHA is the voice of fair housing and works
                         to eliminate housing discrimination and to ensure equal
                         housing opportunity for all people through leadership,
                         education, outreach, membership services, public policy
                         initiatives, community development, advocacy, and
                         enforcement. NFHA is a consortium of more than 220
                         private, non-profit fair housing organizations, state and local
                         civil rights agencies, and individuals from throughout the
                         United States.
                         ACKNOWLEDGEMENTS

                         NFHA would like to recognize the following for their various
                         roles in completing the outstanding real estate sales
                         investigation on Long Island, New York, including designing
                         the methodology; implementing, analyzing, and
                         documenting the investigation; and reporting on the
                         profound and compelling results.

                          Newsday
                          Fred Freiberg, Fair Housing Justice Center
                          Robert Schwemm, University of Kentucky College of Law
                          Thomas Silverstein, Lawyers’ Committee for Civil Rights
                           Under Law




                                   2
       Case 1:25-cv-05201-JAV       Document 51-6      Filed 07/17/25    Page 4 of 19




Introduction
On November 17, 2019, Newsday released a scathing report detailing an investigation into
the nature and extent of real estate sales practices on Long Island in New York. The report,
entitled Long Island Divided, was the culmination of a three-and-a-half year comprehensive
investigation entailing 240 hours of secretly recorded meetings with real estate agents and
analysis of 5,764 house listings. It revealed a 19 percent rate of discrimination against
Asian Americans, 39 percent rate of discrimination against Latinos, and 49 percent rate of
discrimination against African Americans. Altogether, the agents in the Newsday
investigation gave White testers 50 percent more listings than those given to their equally
qualified Black counterparts.

            “But you don’t want to go there. It’s a mixed neighborhood.”
                      Century 21 agent warning a White tester
                                 ~Newsday Report


The findings in the Newsday report are startling, but they are not new. They mirror the
results of a multi-year, multi-city real estate sales investigation the National Fair Housing
Alliance (NFHA) conducted in the mid-2000s. In that investigation, which consisted of 145
matched pair tests in 12 cities, we found an 87 percent rate of racial steering, meaning the
testers were given listings or shown homes only in neighborhoods occupied predominantly
by people of the tester’s race. In one test in Atlanta, an agent actually brought two sets of
listings to a meeting with a tester explaining that he could not tell if the tester was White
or Black over the phone. When he saw the tester was White, he threw one set of listings
into the back seat of his car and said he wouldn’t be needing those. That tester only saw
homes in White neighborhoods, even after asking to see a home that was located in an
integrated neighborhood. A real estate agent in Brooklyn pulled out a map and drew red
lines around White neighborhoods in which the White tester’s housing search should be
limited, and he drew red arrows to indicate to the tester the neighborhoods that were
“changing.”

Like the Newsday investigation, NFHA’s multi-year investigation revealed that real estate
agents: used schools as a proxy for race and a means to steer people based on race;
refused to provide services to consumers of color; showed borrowers of color far fewer
homes than their White counterparts; provided inaccurate information to borrowers of

                                              3
        Case 1:25-cv-05201-JAV              Document 51-6          Filed 07/17/25        Page 5 of 19



color; made inappropriate statements based on race; placed higher requirements on
borrowers of color; and steered potential consumers based on race.


    “I made two different sets of listings, one set in case you were white and one
                            set in case you were black.”
             ~Real estate agent in Atlanta during NFHA’s investigation


The NFHA investigation resulted in the filing of eleven enforcement actions with the U.S.
Department of Housing and Urban Development (HUD) and one lawsuit against real estate
firms that engaged in discriminatory activities. After years of unfruitful administrative
investigations and only two case resolutions, NFHA was left with serious concerns about
the ability and willingness of federal enforcement agencies to enforce our nation’s fair
housing laws. In the one lawsuit NFHA filed, the defendant declared bankruptcy and
closed its doors to avoid proceeding with the litigation. This means that most of the
companies and agents were free to continue discriminatory practices. 1

More than a decade later, Newsday’s investigation of real estate sales practices on Long
Island sends a clarion call to elected officials, state Attorneys General, federal regulators,
and the housing industry that there is much to do to put an end to discrimination in the
business of real estate. The dual goals of the Fair Housing Act to end housing
discrimination and create diverse communities are far from realized.

This report highlights the solutions that we know are effective for curtailing discriminatory
real estate sales practices. We provide a brief historical backdrop of the nature and extent
of discrimination in the real estate sales industry; outline some of the costs related to
discrimination and segregation; and itemize the remedies our society must pursue to exact
real, meaningful, and lasting change. Discrimination costs us dearly. It stifles economic
progress and harms families and communities. We must eliminate it if we are to provide
people with the opportunities that are theirs by right.


Brief History of Real Estate Sales Discrimination
Discrimination in the sale of real property has a long history in the United States. In fact,
this form of discrimination was for decades explicitly sanctioned by federal, state, and local

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 For more information on NFHA’s investigation, see both the NFHA 2007 Fair Housing Trends Report and 2008 Fair
Housing Trends Report.
                                                        4
      Case 1:25-cv-05201-JAV       Document 51-6      Filed 07/17/25    Page 6 of 19



governments. It was also promulgated and perpetuated by the private market. The
National Association of Real Estate Boards (the precursor to the National Association of
Realtors®) encouraged racial segregation and discrimination. It even prescribed a Code of
Ethics that mandated that its members work to segregate communities and oppose
integration.

Housing developers, real estate professionals, and governments all promoted the use of
racially restrictive covenants that precluded people of color from being able to purchase
homes in the communities of their choice, based solely on race or national origin. The
Homeowners Loan Corporation (HOLC), established in 1933, implemented a system that
rated neighborhoods based on a number of factors, including race. The HOLC hired local
real estate professionals in more than 200 cities to complete “Residential Security Surveys”
which were used to create “Residential Security Maps,” which ultimately became
standardized redlining maps. In each survey, the real estate professional would have to
designate the percentage of Blacks living in a neighborhood, and this piece of information
significantly formed the basis of whether or not the neighborhood would be designated as
“desirable” or “hazardous.” Typically, neighborhoods with any percentage of Black
residents were labeled as hazardous.

Real estate agents also engaged in discriminatory practices, such as real estate steering
and blockbusting, which were extremely harmful to consumers and communities of color.
As a result, U.S. neighborhoods are highly segregated. Our cities are more segregated
today than they were in 1920. Most hyper-segregated cities are located in northern
locales such as Milwaukee, Chicago, New York, and Cleveland. However, some southern
cities, like Atlanta, Baltimore, Memphis, and Montgomery, are hyper-segregated as well.


  “Follow the school bus; see the moms that are hanging out on the corners.”
                 Coldwell Banker Residential Brokerage Agent
                                  ~ Newsday


Segregation is key because it is the bedrock of all other inequalities in our nation.
Segregation drives discriminatory outcomes, such as disparities in health, employment,
credit access, income, environmental quality, wealth, and education. Schools are
segregated because neighborhoods are segregated. That is why schools can so easily be
used as a means of steering prospective buyers based on race or national origin, as

                                             5
        Case 1:25-cv-05201-JAV               Document 51-6          Filed 07/17/25         Page 7 of 19



evidenced in the Newsday investigation and NFHA’s multi-state investigation. In fact,
when discrimination occurs, real estate agents often use schools to send signals to
consumers about the racial composition of a neighborhood as a means of primarily
discouraging White consumers from purchasing homes in communities of color.


National Data
Each year, NFHA conducts an analysis of fair housing data compiled from fair housing
organizations from throughout the country, the Department of Justice, and the
Department of Housing and Urban Development. This data is a component of our annual
Fair Housing Trends Report. The 2019 Trends Report, which is based on 2018 data,
revealed that discrimination in the real estate sales industry remains intransigent.
In 2018, complaints of real estate sales discrimination increased to 819, up slightly from
the 805 complaints filed in 2017. The complaints filed in 2018 represented an 11.7 percent
increase over the number of complaints filed in 2014 as the chart below illustrates. These
complaints represent only the tip of the iceberg of real estate sales discrimination. It is
often difficult for buyers to recognize discrimination, as they do not know what properties
are available, what reasonable qualification standards should be acceptable, whether or
not properties have actually already been sold, or what happens to other buyers who have
similar qualifications and housing needs – phenomena borne out in the Newsday
investigation.




Data based on NFHA Fair Housing Trends Reports available at: https://nationalfairhousing.org/reports-research/




                                                         6
        Case 1:25-cv-05201-JAV               Document 51-6           Filed 07/17/25         Page 8 of 19




The Cost of Discrimination
The discrimination revealed by the Newsday investigation illustrates one of the many
potent forces that perpetuates residential segregation in the United States. This type of
discrimination results in great harm, not only to individuals and families whose choices
about where to live are restricted by discriminatory practices, but also to communities,
regions, and the nation as a whole. As described in more detail in NFHA’s 2017 Fair
Housing Trends Report, “The Case for Fair Housing,” 2 these costs are felt in many ways.
For example, because the neighborhood in which a child lives often determines where that
child goes to school, we see the cost of discrimination reflected in the nature and quality of
the schools to which children have access, and their subsequent educational attainment.
In 1991, the average Black student attended a school in which 35 percent of his or her
fellow classmates were White. By 2013, only 28 percent of those classmates were White. 3
Looking just at poor households, all of which are most likely to live near underperforming
schools, we find that children in poor Black and Latino households live near schools whose
median math and reading scores are in the 17th and 27th percentiles, respectively. In
contrast, the media test scores for the schools closest to poor White children were in the
47th percentile. 4
It comes as no surprise, then, that we see significant racial and ethnic disparities in high
school and college graduation rates. In 2014, 87.2 percent of White students graduated
from high school, compared to 72.5 percent of Black students and 76 percent of Latino
students.5 And among adults age 25 and older, 33 percent of Whites have a bachelor’s
degree, compared to only 19 percent of Black adults and 14 percent of Latino adults.
These disparities in educational attainment translate into employment disparities.
According to the Georgetown Center on Employment and the Workforce, “By 2020, 65
percent of all jobs in the economy will require postsecondary education and training
beyond high school.” 6 The differences in educational attainment mean there are

2
  Please see the NFHA 2017 Fair Housing Trends Report.
3
  Rothstein, Richard, “The Racial Achievement Gap, Segregated Schools and Segregated Neighborhoods – A
Constitutional Insult.” Economic Policy Institute, November 12, 2014. Available online at
http://www.epi.org/publication/the-racial-achievement-gap-segregated-schools-and-segregated-neighborhoods-a -
constitutional-insult/.
4
  Ellen, Ingrid Gould and Keren Mertens Horn, “Do federally assisted households have access to high performing public
schools?” Poverty & Race Research Action Council, November 2012. Available online at:
http://furmancenter.org/files/publications/PRRACHousingLocationSchools.pdf.
5
  https://ed.gov/news/press-releases/us-hgih-school-graduation-rate-hits-new-record-high-0.
6
  Carnevale, Anthony P., Nicole Smith and Jeff Strohl, “Recovery: Job Growth and Educational Requirements Through
2020.” Georgetown University center on Employment and the Workforce, Washington, DC. Available at
https://cew.georgetown.edu/wp-content/uploads/2014/11/Recovery2020.ES_.Web_.pdf.
                                                          7
         Case 1:25-cv-05201-JAV               Document 51-6            Filed 07/17/25         Page 9 of 19



enormous disparities in the level of unemployment between White workers and workers
of color, with the unemployment rate for African American workers remaining stubbornly
and persistently higher – often two times higher - than that for White workers. The
unemployment rate for Latino workers is somewhat lower than that for African Americans,
but significantly higher than that for Whites. 7
Along with discriminatory practices in the lending, insurance, and real estate industries,
the factors combine to undermine the ability of families of color to buy a home and build
wealth. According to the U.S. Census Bureau, as of the third quarter of 2019, 73.4 percent
of non-Hispanic White households owned their home, well above the national rate of 64.8
percent. For Asian, Pacific Islander and Native Hawaiian households, that rate was 58.5
percent. For Hispanic households, it was 47.8 percent, and for Black households, the
homeownership rate was 42.7 percent – essentially the same rate as when the Fair
Housing Act was passed in 1968. 8
Even when families of color are able to purchase homes, the kinds of real estate practices
uncovered by the Newsday investigation mean that they are more likely to purchase
homes in segregated communities. Our experience at the National Fair Housing Alliance
suggests that the market often places a lower value on homes in communities of color than
on comparable homes in White communities. This is borne out by research from the
Brookings Institution, which sought to “understand how much money majority-black
communities are losing in the housing market stemming from racial bias, [and found] that
owner-occupied homes in black neighborhoods are undervalued by $48,000 per home on
average, amounting to $156 billion in cumulative losses. 9
Since for most families in the U.S. wealth is tied directly to their equity in their homes,
there is a substantial wealth gap between families based on race and national origin.
According to recent research by the Federal Reserve Bank of St. Louis, in 2016 the typical
White family had about ten times the wealth ($163,000) of the typical Black family
($16,000), and over seven times the wealth of the typical Hispanic family ($22,000). 10


7
  See, for example, Wilson, Valerie, “Black unemployment is at least twice as high as white unemployment at the
national level and in 14 states and the District of Columbia.” Economic Policy Institute, Washington, DC, April 4, 2019.
Available at https://www.epi.org/publication/valerie-figures-state-unemployment-by-race/.
8
  US Census Bureau, Release Number CB19-157, “Quarterly Residential Vacancies and Homeownership, Third Quarter
2019.” Available at https://www.census.gov/housing/hvs/files/currenthvspress.pdf.
9
  Perry, Andre, Jonathan Rothwell and David Harshbargar, “The Devaluation of Assets in Black Communities: the Case
of Residential Property.” Brookings Institution, Washington, DC, November 27, 2018. Available at
https://www.brookings.edu/research/devaluation-of-assets-in-black-neighborhoods/.
10
   Kent, Anna, et al., “What Wealth Inequality in America Looks Like: Key Facts & Figures.” Open Vault Blog, Federal
Reserve Bank of St. Louis, August 14, 2019. Available at https://www.stlouisfed.org/open-vault/2019/august/wealth-
inequality-in-america-facts-figures.
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       Case 1:25-cv-05201-JAV               Document 51-6           Filed 07/17/25        Page 10 of 19



These disparities in household wealth affect the ability of families with color to purchase
homes, start or expand small businesses, send their children to college, or pass wealth
along to the next generation.
Individual households are not alone in bearing the costs of the kind of discrimination
uncovered by Newsday. The cumulative effects can have an enormous impact on
neighborhoods, cities, and regions. Recently, the Metropolitan Planning Council, in
partnership with the Urban Institute, examined this cost for the Chicago metropolitan area,
which has a high level of racial segregation. They found that by simply bringing the levels of
racial and economic segregation in the region down to the national median, “Incomes for
African Americans would rise by an average of $2,982 per person per year – an overall
increase of $4.4 billion in [the] region.” This would boost the region’s gross domestic
product by some $8 billion. They also found that 83,000 more people in the region would
have bachelor’s degrees, leading to an increase of $90 billion in lifetime earnings. In
addition, they found the homicide rate would drop by 30 percent, with an ancillary
reduction in the combined cost of policing and corrections of $283 million in 2016 and an
increase in property values of at least $8 billion. 11
Jaw dropping as they are, these figures merely scratch the surface of the costs that our
communities and our country suffer as the result of discrimination in the housing market.
If we are to create or sustain vibrant, healthy neighborhoods in all communities, we must
find ways to eliminate housing discrimination.


       “Denial of access to housing is arguably the single most powerful tool to
             undermine and marginalize the upward mobility of people.”
     James H. Carr and Nandinee Kutty – Segregation: The Rising Costs for America



Solutions
Discrimination in the real estate sales industry has existed in this country since its
inception. After centuries of socially and government sanctioned bias, discriminatory
practices are deeply embedded and all too common. It will take a concerted and
coordinated effort to eliminate discrimination in the marketplace, from the housing
industry, real estate associations, and state and federal government. Below are solutions

11
  Metropolitan Planning Council, “The Cost of Segregation.” Chicago, IL, March 2017. Available at
https://www.metroplanning.org/uploads/cms/documents/cost-of-segregation.pdf.

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      Case 1:25-cv-05201-JAV       Document 51-6       Filed 07/17/25    Page 11 of 19



that must be implemented if we are to make a real dent in dissipating discrimination in the
real estate sales industry.
Solutions for the Real Estate Industry
Promote Diversity in the Real Estate Industry
One of the disturbing trends NFHA found in its real estate sales investigation was an
extensive lack of diversity in real estate offices. In real estate agencies located in
predominantly White communities, there were very few agents of color and few, if any,
real estate offices in communities of color. Newsday identified the same pattern in its
investigation. In fact, the Newsday investigation found that of the 12 largest real estate
brands in Long Island, none had offices in communities of color. This trend stems from
longstanding practices of discrimination against real estate agents of color. Indeed, at one
time the National Association of Realtors (NAR) prohibited African American membership
in its association. NAR abandoned this practice and allows any qualified professional to be
a member of the organization. NAR created a Fair Housing Policy Committee designed to
ensure NAR is focusing more attention on the public policy issues surrounding fair housing
and equal opportunity (in addition to its longstanding Diversity Committee). While
continuing its work to rectify acknowledged mistakes of the past, NAR is engaged in a
renewed focus on promoting inclusion of diversity in all Realtor® Associations while
supporting programs and services geared toward meeting the needs of African American,
Latino, Asian American, and other members.
The NAR, local real estate boards, and real estate agencies must adopt aggressive,
meaningful, and impactful initiatives to increase racial diversity in the organizations and in
local real estate sales offices. To effect change, these organizations must have significant
staff in senior leadership positions that reflect the diversity that is America. Diversity
initiatives should include extensive and deep partnerships with the National Association of
Real Estate Brokers (NAREB), National Association of Hispanic Real Estate Professionals
(NAHREP), and Asian Real Estate Association of America (AAREA). They should also include
providing paid internship and mentorship opportunities and programs for young real
estate professionals of color. In addition, the diversity initiatives must include special
partnerships with Historically Black Colleges and Universities and colleges and universities
with extensive Latino and Asian American student bodies.
Encourage the Establishment of Sales Offices in Communities of Color
NFHA has written extensively about the need for increased opportunities in communities
of color. Where one lives determines so much about the opportunities and advancements
one will make, primarily because in the U.S., race is inextricably linked with both place and

                                              10
      Case 1:25-cv-05201-JAV       Document 51-6      Filed 07/17/25    Page 12 of 19



opportunity. Communities of color disproportionately lack critical resources, including
banks, economic centers, full-service grocery stores, health centers, and other amenities
that make communities thrive. The same holds true with the presence of small businesses,
like real estate sales offices.
Since most real estate agents “specialize” in certain delineated communities, establishing
an office in underserved communities means that there would be a cadre of agents serving
these markets – something long-neglected communities sorely need. However, it should
not be the case that agents of color serve communities of color and White agents serve
White communities. Offices should be diverse, and all agents should be conversant with
neighborhoods in their region and willing to show homes and encourage buyers in every
community. Territories should never be delineated by race or ethnicity of agent or
community. That would only perpetuate segregation.
Provide Financial Support for Fair Housing Testing, Research, and Education
The real estate industry has rarely, if ever, provided financial support for the work of
private fair housing organizations to conduct testing, research about discrimination in real
estate and mortgage lending markets, or education and outreach materials and activities
designed to inform consumers about their rights or industry about its fair housing
obligations. National real estate associations should support these efforts on a national
level, and local real estate boards and offices should be closely aligned and financially
supportive of efforts at the local level. Local real estate organizations could also play an
important role in establishing and supporting new full-service fair housing organizations in
unserved areas. Partnerships between industry and advocates can lead to better
understanding of the history and current manifestations of discrimination, motivate
improved compliance by industry, and promote better outcomes for consumers and
communities. Real estate players should not continue to profit from discriminatory
behavior; instead, they should be aligned with those who support fair housing principles
and demonstrate that commitment with financial support.
Provide Better Comprehensive Training for Real Estate Professionals
The real estate industry has long advocated for training as the primary tool to promote
compliance by real estate agents with fair housing laws. However, the Newsday
investigation brings to focus yet again that training is not enough, particularly when
industry-friendly entities provide the training. Agents should be required to go through
comprehensive training prepared by experts in housing discrimination and fair housing. At
a minimum, the training should include the history of discrimination and segregation and
the role of industry in establishing and perpetuating both; fair housing laws and
implementing regulations; recent case examples of discrimination; information about the
                                             11
      Case 1:25-cv-05201-JAV       Document 51-6       Filed 07/17/25    Page 13 of 19



costs of segregation for families, communities, and the nation; and best practices to ensure
compliance with fair housing, both in spirit and in intent.
Implement Serious Consequences for Violations of Fair Housing Laws
Education and training alone have been and always will be inadequate to achieve
compliance by the industry. There is too much deep-seated and unwarranted bias and too
few consequences for failure to comply. There must be significant consequences for
agents found to violate fair housing laws. Many of the behaviors are not just ethical
deviations; they are serious and deliberate violations of laws with which all real estate
agents are required to be familiar, and they have serious implications for consumers and
communities, especially consumers and communities of color. Those who violate the law
should face license restrictions or revocations, financial penalties, and other consequences.
There should be a formal national neutral entity that adjudicates allegations of violations
with one set of standards of behavior, rather than local real estate boards that consider
the actions of local agents.
Provide Fair Housing Policies and Best Practices for Professionals
Real estate professionals, just like doctors, lawyers or teachers, need to have established
protocols and best practices for how to engage with customers and the public. The
decisions and choices of real estate professionals directly affect the housing opportunities
available to consumers; therefore, it is imperative that they have guidelines on how to
advance fair housing through their business conduct. Policies should cover everything
from providing information and assistance to consumers in a consistent fashion, treating
every consumer fairly, and requiring that consumers be shown houses that fit their needs.

Protocols should also include how to market schools and neighborhoods appropriately.
The inconsistent, and sometimes misleading, characterization of schools and
neighborhoods drives steering and discriminatory practices, which can make real estate
professionals open to liability under anti-discrimination and other laws.

Establish Transparency around Pocket Listings

A pocket listing is a listing of a home for sale that an agent keeps in a metaphorical pocket.
The listing is not placed on the MLS or otherwise made public; instead, it is shared with a
limited number of agents who the selling agent believes will bring the right clientele to the
deal. Pocket listings can make it easy to support discrimination by shielding properties that
are available for sale from most potential buyers. Sellers or real estate agents who want to
engage in discrimination can use this tactic easily to hide properties from borrowers of
color, in violation of both the Civil Rights Act of 1866 and the Fair Housing Act.


                                             12
      Case 1:25-cv-05201-JAV       Document 51-6       Filed 07/17/25    Page 14 of 19



The real estate industry should adopt systems and rules to bring pocket listings into the
open to ensure that all eligible buyers, irrespective of race or national origin, have a fair
opportunity to submit bids. Moreover, the industry should sponsor research into this issue
to shed light on whether or not buyers of color have equal and fair access to these
clandestine listings and how they affect fair housing outcomes.

Support Fair Housing Policies and Initiatives, Including AFFH

Real estate professionals must be actively engaged in the efforts of states and local
communities to Affirmatively Further Fair Housing (AFFH). Every three to five years, in
conjunction with their plans for allocating their housing and community development
funding and related resources, jurisdictions that receive federal funds must engage in an
analysis of the impediments and barriers to fair housing experienced by their residents.
After identifying the fair housing barriers, jurisdictions must complete a Fair Housing Plan –
a comprehensive strategy for overcoming those barriers and fostering an environment that
provides true fair housing opportunities for groups protected by fair housing laws. That
plan must identify fair housing priorities, articulate strategies for addressing them, and
establish metrics and timelines for measuring progress toward their achievement.
Real estate professionals and trade associations, including local real estate boards, must be
fully involved in the process of conducting an honest assessment of the barriers that
communities face and identifying meaningful solutions to overcome those barriers. The
real estate community must also be fully committed to supporting, funding, and helping to
implement the strategies and activities in the Fair Housing Plans generated by local and
state jurisdictions to overcome fair housing barriers.

Government
Reinstate and Vigorously Enforce the 2015 Affirmatively Furthering Fair Housing Rule
In 2018, HUD suspended implementation of a comprehensive fair housing planning
regulation, the Affirmatively Furthering Fair Housing rule, that it had adopted a mere three
years earlier. That rule was developed with extensive input from local government
officials, housing authorities, fair housing advocates, and other stakeholders. It was based
on extensive piloting in 74 communities through the Fair Housing and Equity Assessments
of the Sustainable Communities Initiative. It responded to the requests of local officials for
more guidance about how to fulfill their fair housing obligations and the recommendations
made by the Government Accountability Office in its 2010 review of HUD’s enforcement of
its fair housing mandate.

The 2015 AFFH rule provided jurisdictions with a framework for analyzing the fair housing
issues in their communities and a robust data and mapping tool with which to inform that
analysis. It required extensive consultation with and input from local stakeholders,
                                              13
          Case 1:25-cv-05201-JAV               Document 51-6   Filed 07/17/25   Page 15 of 19



ensuring that the resulting plan would reflect local priorities and garner local support. It
created a link between the most pressing fair housing problems jurisdictions identified and
their plans for spending the funds they receive from HUD, along with other housing and
community development resources. Finally, it created a mechanism by which to hold local
jurisdictions accountable for making progress toward achieving their fair housing goals.

The 2015 AFFH regulation represented the first time since the passage of the Fair Housing
Act in 1968 that HUD put in place an effective system for ensuring that both HUD itself and
the cities, counties, states, and public housing authorities to which it provides federal
funds would fulfill their obligation to affirmatively further fair housing.

The early results of the rule’s implementation were promising, with jurisdictions engaging
more robustly and effectively with local stakeholders, identifying clear fair housing
priorities, setting goals to address them, identifying strategies for achieving them, and
developing timelines and metrics for measuring progress.

If the AFFH rule had not been suspended, it would have provided a platform through which
jurisdictions on Long Island could identify the patterns of residential segregation that
Newsday found, and the real estate industry practices that reinforced them. It would have
enabled those jurisdictions and their residents to determine the most appropriate steps to
take to dismantle those practices and provide all home seekers with true choices about
where to live. In addition, it would have enabled local residents to ensure that their
leaders followed through on carrying out those strategies.

HUD offered no meaningful rationale for suspending the rule and is currently drafting a
new AFFH regulation. HUD should abandon this misguided effort, reinstate the 2015 AFFH
regulation, and resume its implementation.

Retain the Existing Disparate Impact Rule
Real estate professionals are the gatekeepers to housing markets. Their industry policies
determine whether home sale practices promote open housing markets or perpetuate
entrenched segregation. One of the most powerful legal tools to challenge housing
industry discrimination is disparate impact claims, which require banks, insurance
companies, and real estate brokers to choose policies that apply fairly to all people, rather
than practices that have an unjustified discriminatory effect. 12

Courts have allowed disparate impact claims under the Fair Housing Act for over 45 years,
and the use of disparate impact was affirmed in 2015 by the Supreme Court in Texas Dept.


12
     https://nationalfairhousing.org/disparateimpact/.
                                                         14
       Case 1:25-cv-05201-JAV             Document 51-6          Filed 07/17/25       Page 16 of 19



of Housing & Community Affairs v. Inclusive Communities Project. 13 The National
Association of Real Estate Brokers (NAREB), National Association of Hispanic Real Estate
Professionals (NAHREP), and Asian Real Estate Association of America (AREAA) filed an
amicus brief 14 in the Inclusive Communities case arguing that open markets, free from
discrimination, are critical to the prosperity of the real estate industry because
discrimination creates inefficiencies in housing and financial markets, while disparate
impact liability promotes market efficiencies.

For example, disparate impact cases have been brought against banks that refuse to make
loans under a certain dollar amount, unnecessarily limiting services to African American
and Latino communities. They have been brought against insurance companies that refuse
to insure homes under certain market values, which had the effect of denying coverage for
homeowners of color. Real estate professionals should be cautious about sales practices
that limit services based on characteristics or criteria that are highly correlated with race,
such as minimum purchase price policies. They should also be cautious about the use of
targeted advertising or client farming, “pocket” listings, and crime or school data reports.

Unfortunately, HUD is currently proposing to gut this longstanding legal tool in one of the
Trump administration’s most extreme moves to dismantle anti-discrimination laws. 15 A
HUD proposed rule would allow financial institutions, insurance companies, and real estate
brokers to engage in covert discriminatory practices by dramatically weakening disparate
impact liability. In October 2019, HUD received more than 45,000 comment letters16 in
response to the proposed rule and is considering the comments as it formulates a final
rule.

Real estate trade groups denounced HUD’s proposed disparate impact rule. NAREB,
NAHREP, and AREAA submitted a letter arguing that disparate impact is critical for driving
marketplace innovations and helping to create a strong business environment. They added
that HUD’s proposed rule violates the Fair Housing Act, creates unjustified burdens on
complainants, and creates untenable administrative procedures that depart from settled
practice and increase the costs of compliance. 17 The NAR also submitted a letter in
opposition to HUD’s proposed departure from the existing burden-shifting standard and




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   https://casetext.com/case/texas-dept-of-housing-and-community-affairs-v-inclusive-communities-project-inc.
14
   https://www.americanbar.org/content/dam/aba/publications/supreme_court_preview/BriefsV4/13-
1371_amicus_resp_RETradeOrgs.authcheckdam.pdf.
15
   https://www.defendcivilrights.org/.
16
   https://www.federalregister.gov/documents/2019/08/19/2019-17542/huds-implementation-of-the-fair-housing-
acts-disparate-impact-standard.
17
   http://www.nareb.com/site-files/uploads/2019/10/Real-Estate-Trade-Associations-Disparate-Impact-Comment-
Letter.pdf.
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          Case 1:25-cv-05201-JAV               Document 51-6         Filed 07/17/25   Page 17 of 19



defenses.18 HUD should heed the recommendation of these groups and others to abandon
ongoing efforts to undermine disparate impact.

Improve Investigation of Real Estate and other Complex Discrimination Cases
NFHA learned first-hand that HUD staff had great difficulty in conducting comprehensive
analysis and investigation of systemic real estate discrimination complaints. This is the
result of years of significant drops in HUD staffing levels and a continued lack of sufficient
funds for extensive training. When NFHA filed real estate discrimination complaints with
HUD, all but two languished for years without meaningful resolutions. There is also
significant concern in the private fair housing movement that HUD and Fair Housing
Assistance Program (FHAP) agencies (state and local government enforcement agencies)
lack the expertise generally to investigate and adjudicate complex cases, such as real
estate sales, algorithmic bias, mortgage lending, insurance redlining, etc. Complex cases
often require knowledge of sophisticated practices and disparate impact analysis, as well
as the completion of regression and other statistical analyses. HUD, FHAPs, and private fair
housing organizations as well need more and better training on these complex issues and
the funding to make that happen.
Increase Funding for Fair Housing Enforcement
The primary source of funding for private fair housing enforcement is the Fair Housing
Initiatives Program (FHIP). FHIP is a vital resource that empowers mission-driven private
fair housing organizations to conduct intake and investigation of housing discrimination
complaints. It also supports the provision of education and outreach activities to the
public about their rights and to the local housing industry about how to comply with fair
housing and fair lending laws. When sufficient funds are allocated, FHIP supports the
creation of new organizations where a full-service fair housing organization does not exist.
FHIP funding has decreased from an all-time high of $42.5 million in FY10 to $39.6 million
in the most recently passed FY19 federal appropriations cycle. Funding for FHIP must be
increased to at least $55 million annually to ensure greater availability of fair housing
services for victims of housing discrimination across housing markets. This increase is also
critical to ensuring that fair housing practitioners can develop expertise in testing and
investigation procedures in a rapidly changing housing market, a market in which the
increasing use of artificial intelligence technology and machine-learning based services is
perpetuating segregation and enabling discrimination in new ways.
In addition to increased funding for FHIP, Congress must increase funding for FHAP
organizations. This is critically important since many states and local governments have
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     https://narfocus.com/billdatabase/clientfiles/172/3/3449.pdf.
                                                           16
      Case 1:25-cv-05201-JAV       Document 51-6      Filed 07/17/25    Page 18 of 19



additional protected classes beyond those contained in the Fair Housing Act. FHAP
organizations need additional funding to fully enforce state anti-discrimination laws.
Moreover, according to the Report of the National Commission on Fair Housing and Equal
Opportunity, HUD’s FHEO division is understaffed by approximately 300 employees.
Congress must provide funding to effectively staff the FHEO division and provide effective
and continued training and staff development for the division.
Pass and Fund the Housing Fairness Act
Federal funding for fair housing enforcement continues to lag behind demand for fair
housing services, and currently the FHIP program’s enforcement component primarily
supports direct services for victims of housing discrimination. Private nonprofit fair
housing organizations spend enforcement grant dollars to conduct intake of potential
victims of discrimination, fair housing testing and investigation, and advocacy services for
clients who choose to proceed with a complaint. These services are vitally important and
are proven to improve outcomes greatly for victims of discrimination. However, this focus
on direct services means that fair housing organizations are limited in their capacity to
conduct systemic investigations that change housing market behavior on a larger scale or
to work cooperatively with other FHIP recipients to address regional and national
discriminatory systems and practices. FHIP must be increased to support greater direct
services to victims of discrimination and to empower local groups working in their
communities to challenge widespread discriminatory practices, such as those observed on
Long Island in Newsday’s investigation.
NFHA recommends that Congress pass and fund H.R. 149, sponsored by Rep. Al Green (D-
TX-9). “The Housing Fairness Act” would increase FHIP funding and create dedicated
funding for systemic investigations, such as that conducted by Newsday and its fair housing
partners.
The Housing Fairness Act:
    Authorizes FHIP funding at $42.5 million, an increase of $2.9 million above the FY19
     level. However, FHIP needs to be authorized to between $55 million and $65
     million annually during the next decade;
    Authorizes a dedicated funding stream for systemic national testing investigations at
     $15 million annually during the next 5 years; and
    Authorizes a match-grant program at $5 million annually to support comprehensive
     research to examine:
         o The causes of housing discrimination and segregation or
         o The effects of housing discrimination and segregation on education, poverty,
            economic development, health, and other socioeconomic factors.
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      Case 1:25-cv-05201-JAV       Document 51-6      Filed 07/17/25    Page 19 of 19



State Real Estate Commissions Must Step Up Enforcement of Fair Housing

State real estate commissions have failed to enforce fair housing compliance among their
memberships across the country. Accordingly, there remains the severe need for state
boards to take a leadership role in rooting out the discriminatory conduct endemic to the
industry. The ethical codes of most housing industry groups include a commitment to fair
housing, and state real estate licensing laws require fair housing training and continuing
education. However, real estate industry enforcement of these fair housing commitments
is scant or nonexistent in many areas, and the educational commitments of state
commissions often only provide a summary of the dictates of the law, without addressing
the nuanced agent conduct featured in recent reporting.

Ultimately, state real estate commissions are complicit in the sort of discrimination laid
bare in the Newsday reporting. In the absence of a national authority to adjudicate
industry complaints, they must take meaningful steps to curb these practices, including:

    State boards and commissions should institute fair housing-specific complaint
     processes, where members of the public can file complaints of alleged
     discriminatory conduct with the commissions themselves, initiating an investigation
     to determine whether the complaint has merit. Where state industry authorities
     identify discriminatory conduct, agents should be sanctioned and suspended.
    State commissions should also consider adopting industry reporting requirements,
     similar to Home Mortgage Disclosure Act requirements in the mortgage lending
     industry, that require agents to identify the sales services provided. This would
     establish a publicly available record of the scope of agents’ services, which may
     enable greater oversight of industry services and enhance fair housing compliance.

The troubling consistency between NFHA’s sales discrimination findings in the late-2000s
and the Newsday coverage documented over the last several years will remain constant
until state commissions and national trade groups make fair housing compliance a real
priority.




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